Case 2:13-cv-02019-JPM-tmp Document 478 Filed 12/04/15 Page 1 of 1                     PageID 33154



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


  WCM INDUSTRIES, INC.,                           )
                                                  )
         Plaintiff,                               )
  v.                                              )
                                                                  No. 2:13-cv-2019-JPM-tmp
                                                  )
  IPS CORPORATION,                                )
                                                  )
         Defendant.                               )



                                JUDGMENT ON JURY VERDICT


  JURY VERDICT. This action came to consideration before the Court for a trial by jury. The
  issues have been tried; the jury duly rendered its verdict on October 27, 2015 (ECF No. 454);
  and Plaintiff submitted a Notice of Sales of Additional Infringing Units Through October 31,
  2015 (ECF No. 458) on November 5, 2015.

  Plaintiff WCM Industries, Inc. is awarded a total of $1,383,978 in damages:

         $1.00 for each of the 1,383,978 infringing units sold.

  IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance with
  the jury verdict for the Plaintiff, where the jury found direct or indirect infringement of each
  asserted claim, did not find invalidity of any asserted claim, and found that the infringement was
  willful, the judgment in the amount of $1,383,978 is hereby entered. The Court retains
  jurisdiction to enforce the judgment. Plaintiff’s Motion for Permanent Injunction (ECF No. 473)
  remains pending.


  APPROVED:

  /s/ Jon P. McCalla
  JON P. McCALLA
  UNITED STATES DISTRICT JUDGE


  December 4, 2015
  DATE
